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                  UNITED STATES DISTRICT COURT
                    DISTRICT OF CONNECTICUT

                                        )
JASON R. LABER,
                                        )
                                        )
                  Plaintiff,
                                        ) Civil Action No.:
                                        ) 3:17-cv-00542 (KAD)
      v.
                                        )
                                        ) April 12, 2019
LONG VIEW R.V., INC. d/b/a
                                        )
LONG VIEW RV SUPERSTORE,
                                        )
THOR MOTOR COACH, INC.
                                        )
and ALLY BANK,
                                        )
                                        )
                  Defendants.
                                        )




         Reply Memorandum of Law
    in Further Support of Defendant Long
View R.V., Inc.’s Motion for Summary Judgment
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   Defendant Long View R.V., Inc. (“Long View”) submits this Reply Memorandum

of Law in further support of its motion for summary judgment dismissing the Com-

plaint (Doc. # 1) of plaintiff Jason R. Laber.

   The question for the Court is straightforward: has Laber offered evidence, as op-

posed to a “naked concern,” of a slide-out defect in Laber’s Miramar motor home (the

“Miramar”) at the time of sale that rendered the vehicle unsafe or undrivable? Pl.’s

Mem. Opp’n Mot. for Summ. J. (“Pl.’s Summ. J. Mem.,” Doc. # 114) at 16. He has

not. He admits the Miramar’s slide-out drift did not render the Miramar unsafe or

undrivable, and his concern that the drift will worsen is unsupported and speculative.

As a result, Long View is entitled to summary judgment.

1. Laber Misstates the Standard for Establishing
   a Breach of the Implied Warranty of Merchantability

   Laber admits the implied warranty of merchantability sets only “minimum stand-

ards” for vehicles. Pl.’s Summ. J. Mem. at 12. Yet he improperly attempts to expand

these minimum standards into something far broader, which would render a vehicle

unmerchantable if it had any defect that reduced its value, dissuaded a buyer from

purchasing it, or interfered with what he calls “worry-free use”—a subjective, unde-

fined term. Id. at 17; see id. at 14, 16. He also claims, erroneously, that he may prove

unmerchantability without relying on industry standards. See Pl.’s Mem. Opp’n Mot.

to Preclude (Doc. # 113) at 9 (asserting, without support, that “there is not any indus-

try standard with respect to investigating slide-out drift”).

   Thus, Laber asks the Court to disregard extensive precedent holding that the mer-

chantability standard “is an objective one, based upon industry standards and not a

plaintiff ’s personal beliefs,” Cavanaugh v. Subaru of Am., Inc., 2017 WL 2293124, at *4
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(Conn. Super. Ct. May 4, 2017), “does not guarantee that the product will fill a buyer’s

every expectation,” id. (quoting Szymczak v. Nissan N. Am., Inc., 2011 WL 7095432, at

*10 (S.D.N.Y. Dec. 16, 2011)), and “is breached only when a defect renders the vehicle

unfit for its ordinary purpose of providing transportation for its owner,” id. (quoting

Sheris v. Nissan N. Am. Inc., 2008 WL 2354908, at *6 (D.N.J. June 3, 2008)). Thus, a

safe and drivable vehicle is merchantable even if it has defects that would reduce its

value, discourage a forewarned customer, or disappoint an owner. See, e.g., Treadaway

v. Damon Corp., 2004 WL 3372010, at *7 (E.D. Mich. Sept. 30, 2004) (granting sum-

mary judgment to defendants where the plaintiff ’s motor home had a misaligned slide-

out); Alin v. Am. Honda Motor Co., 2010 WL 1372308, at *12 (D.N.J. Mar. 31, 2010)

(dismissing complaint alleging a defective air conditioning system because such a de-

fect, “while inconvenient, does not render a vehicle unfit to provide transportation to

its owner”).

   Laber offers no sound reason for the Court to disregard this “weight of authority,

from courts across the country.” Haag v. Hyundai Motor Am., 969 F. Supp. 2d 313, 317

(W.D.N.Y. 2013) (quoting Sheris, 2008 WL 2354908, at *6). His observation that some

of Long View’s cited cases involved class actions or were directed against manufactur-

ers is unpersuasive, as each case considered the criteria for establishing unmerchanta-

bility and found that the claimed defects did not meet them. Pl.’s Summ. J. Mem. at

15-16; see, e.g., Haag, 969 F. Supp. 2d at 317 (concluding that even if the plaintiff had

alleged sufficient privity to plead an implied warranty of merchantability claim against

a manufacturer, she had not alleged a defect that rendered her car unfit to drive).




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   In addressing Connecticut law, Laber ignores the recent Cavanaugh decision—

which follows this “weight of authority”—and relies on Krack v. Action Motors Corp.,

87 Conn. App. 687 (2005) (cited in Pl.’s Summ. J. Mem. at 13). But that decision did

not address the standard for merchantability. See Krack, 87 Conn. App. at 694 (finding

that a seller’s knowledge of a defect is not an element of an implied warranty claim).

Further, the trial court in Krack found a breach of implied warranty based on the sale

of a salvaged vehicle as a non-salvaged vehicle. See id. at 688. These facts are not rele-

vant to a mechanical issue such as slide-out misalignment, which does not impair

safety or drivability.

   In the only case Laber cites to argue that a vehicle may be unmerchantable if “a

significant segment of the buying public would object to buying this particular model,”

Pl.’s Summ. J. Mem. at 14, the court denied a motion to dismiss where the plaintiff

alleged a defect that “damages the engine,” and thus could result in a lack of drivability,

In re Gen. Motors Corp. “Piston Slap” Prods. Liab. Litig. (“GMC”), 2005 WL 1924331, at

*1-2 (W.D. Okla. Aug. 8, 2005) (cited in Pl.’s Summ. J. Mem. at 14). Further, GMC and

Laber rely on a decision, Bayliner Marine Corp. v. Crow, 509 S.E.2d 499 (Va. 1999) (cited

in Pl.’s Summ. J. Mem. at 14), that underscores the significance of Laber’s failure to

offer proof of industry standards governing slide-outs. The Bayliner Marine court noted

that “to prove that a product is not merchantable, the complaining party must first

establish the standard of merchantability in the trade,” and found that the plaintiff had

failed to establish that standard or prove a violation of it. Id. at 503. Thus, even if the

Court adopts Laber’s “significant segment of the buying public” test, it should still

grant summary judgment to Long View because Laber has not offered evidence of the


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standard of merchantability for slide-outs, or that the Miramar’s slide-out violated that

standard.

   Finally, Laber suggests that, rather than the “safe and drivable” standard applicable

to vehicles, the Miramar should be held to a different, unidentified standard because it

has “functions that extend beyond basic transportation, i.e., mobile home living.” Pl.’s

Summ. J. Mem. at 17. But Laber has not shown a defect in the Miramar at the time of

sale that interfered with his use of it in any way, either as a vehicle or for mobile living.

See Treadaway, 2004 WL 3372010, at *7 (“Without evidence to show that the approxi-

mately one-inch misalignment of the slide-out impairs the functioning of the motor

home, Plaintiff cannot succeed on his claim for breach of an implied warranty of mer-

chantability.”). To the contrary, Laber used the Miramar extensively and never encoun-

tered safety or drivability issues.

2. Plaintiff Admits the Miramar Was Safe and Drivable

   In his Opposition, Laber confirms that the key facts on this motion are undisputed.

Laber drove the Miramar, often with several passengers, for thousands of miles. Def.’s

Local R. 56(a)(1) Stmt. (“Def.’s Stmt.,” Doc. # 107-2) ¶¶ 10-18; Pl.’s Local R. 56(a)(2)

Stmt. (“Pl.’s Stmt.,” Doc. # 114-1) ¶¶ 10-18. Laber did not believe that the slide-out

drift he observed made the Miramar unsafe to drive. Instead, he feared that the size of

the drift would increase and thus create a dangerous condition. Def.’s Stmt. ¶ 29; Pl.’s

Stmt. ¶ 29; see also Laber 2/28/19 Aff. (Doc. # 114-3) ¶ 42 (“[A]lthough the slide-out

has not drifted more than two inches (to my knowledge), I fear that the improperly

functioning motor brakes will not prevent the slide-out from extending the full distance

during travel . . . .”), ¶ 55 (“I fear that the super slide-out could extend by a considerably


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greater distance . . . .”). Given these undisputed facts, it is immaterial that Laber, his

wife, or his friend became “concerned” about the Miramar being unsafe. Pl.’s Summ.

J. Mem. at 9. None of these affiants observed a dangerous condition, and Laber fails

to offer evidence establishing that their concerns about the Miramar were justified.

   Further, Laber never saw water enter the Miramar and did not believe the Miramar

suffered from water entry. He was only concerned that that water intrusion would

damage the Miramar in two or three years. Def.’s Stmt. ¶¶ 30-31; Pl.’s Stmt. ¶¶ 30-31.

As a matter of law, Laber’s concern about future damage to the Miramar cannot es-

tablish a breach of the implied warranty of merchantability. See Treadaway, 2004 WL

3372010, at *7 (finding that the plaintiff ’s testimony “reveals that he has not experi-

enced any air leaks, water leaks, or other problems with the seal around the rear slide-

out,” but “has simply raised concerns about possible problems that may arise in the

future”); see also Szymczak, 2011 WL 7095432, at *11 (“Courts . . . have consistently

held that an automobile that was driven for years without problems was merchantable

at the time of sale.”); Cavanaugh, 2017 WL 2293124, at *4 (dismissing implied war-

ranty claim where the plaintiff had driven their vehicles “successfully for at least two

years”).

3. Laber Fails to Offer Admissible Evidence to Support His Concerns

   Laber’s only evidence that the slide-out drift will increase or allow water intrusion

is the opinion of his expert, Thomas Bailey. Long View has shown that Bailey’s opin-

ion must be excluded as unqualified and unreliable. Without Bailey’s expert opinion,

Laber lacks any admissible evidence to support his claim.




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    Laber argues he does not need expert testimony to prove his case. Pl.’s Summ. J.

Mem. at 18. But he fails to address Bailey v. Monaco Coach Corp., 350 F. Supp. 2d 1036,

1046 (N.D. Ga. 2004), aff’d, 168 Fed. Appx. 893 (11th Cir. 2006), which held that in

slide-out misalignment cases, plaintiffs must offer expert testimony because jurors are

unlikely to be familiar with slide-outs. Accord Davenport v. Thor Motor Coach, Inc., 2015

WL 13021664, at *4-5 (M.D. Fla. Aug. 6, 2015) (finding, where the plaintiffs alleged

that their slide-out “is not sealed at the corners, allowing for light, insects and possibly

moisture to enter,” that the average juror would “not likely be able to determine what

constitutes a defect in the slide-outs absent expert testimony,” and “likely has little

knowledge of or experience pertaining to RV industry standards, value determination,

appraisal or the mechanics associated with an RV”); Whitehead v. John Bleakley RV Ctr.,

Inc., 2010 WL 925091, at *2 (N.D. Ga. Mar. 8, 2010) (finding that, absent expert testi-

mony, the plaintiff was “not qualified to say [that a] small gap” caused by an inability

to “fully retract” slide-outs was a defect violating an express warranty). In fact, by pre-

senting a “thought experiment” based on unproven assumptions and arbitrary beliefs

about how a slide-out should function, Laber demonstrates why an expert opinion—

based on objective criteria and industry standards—is necessary to sustain his claim.

Pl.’s Summ. J. Mem. at 14. 1

    The cases cited by Laber involved observable defects that did not require expertise

to understand. See Sun Hill Indus., Inc. v. Kraftsman Group, Inc., 27 Conn. App. 688, 696-




1
 There are numerous inaccuracies and distortions in Laber’s “thought experiment,”
which lacks any citation to the record. In particular, not even Bailey concluded that
“the slide brakes are not capable of keeping the slide-out in place.” Pl.’s Mem. at 14.
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97 (1992) (plaintiff did not need an expert to prove cardboard cartons, whose “col-

lapsed and crushed” state “was apparent to any viewer,” were unmerchantable); Kroll

v. Mazda Motor of Am., Inc., 2000 WL 486834, at *1, 4-5 (Conn. Super. Ct. Mar. 28,

2000) (products liability plaintiff whose car “suddenly and without warning, failed to

stop” offered sufficient evidence for a jury to infer a defect); Stream v. Sportscar Salon,

Ltd., 91 Misc. 2d 99, 101-02, 105 (N.Y. Civ. Ct. Queens County 1977) (expert was not

needed to prove unmerchantability where the plaintiff ’s car broke down and leaked

oil, showing that the car “was not fit for driving”) (all quoted in Pl.’s Summ. J. Mem. at

19). In contrast, Laber complains of conditions—the slide-out fully extending or al-

lowing water intrusion—that have never occurred. These circumstances do not permit

the jury to make an inference of unmerchantability, but instead require expert testi-

mony. See Bailey, 350 F. Supp. 2d at 1046.

   Laber asserts that Lemon Law arbitrations do not require expert testimony. Pl.’s

Summ. J. Mem. at 19-20 (citing Gen. Motors Corp. v. Martin, 1997 WL 805137, at *3

(Conn. Super. Ct. Dec. 16, 1997)). This is not a Lemon Law case. Laber selected a

federal forum and is subject to the rule that “complex questions outside of the ordinary

knowledge and experience of jurors,” such as whether a slide-out will fully extend in

transit or allow water infiltration in two to three years, require expert testimony to

resolve. Bourke v. MAN Engines & Components, Inc., 303 F. Supp. 3d 227, 233 (D. Conn.

2018) (internal quotation marks omitted).

   Even if expert testimony were not required, Laber fails to identify any non-expert

evidence showing that the slide-out renders the Miramar unsafe or undrivable, and he

fails to establish any breach of warranty damages. Regarding his claim that “water will


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infiltrate the track mechanism,” Pl.’s Summ. J. Mem. at 16, Laber only refers to Shan-

non Hunter’s testimony that the fascia of the “rear bottom” corner of the slide-out was

“no longer touching the bulb seal which would indicate that it’s no longer sealed to the

elements,” Hunter Dep. (Ex. C to Miner Aff., Doc. # 114-2) at 28:16-18, 29:11-13; see

Pl.’s Summ. J. Mem. at 8. 2 Hunter did not testify that this gap would allow water to

enter the Miramar, let alone damage it, or that he observed any water infiltration. His

equivocal statement about what his observation “would indicate” cannot defeat sum-

mary judgment, especially since Hunter did not testify that the Miramar was unsafe or

undrivable, and Laber is only concerned about water infiltration occurring in two or

three years. Laber even admits Hunter’s findings “are not central to the determination

of merchantability.” Pl.’s Mem. Opp’n Mot. to Preclude at 14.

    In short, the record is devoid of evidence that the Miramar is unsafe or undrivable

due to a defect existing at the time of sale.

4. Laber Does Not Raise a Material Issue of Fact

    Laber’s factual arguments do not address whether the Miramar was safe and driv-

able, and are thus red herrings.

    Laber’s discussion of the Miramar lacking the 3TRAX System at the time of pur-

chase is irrelevant. See Pl.’s Summ. J. Mem. at 3-4. Laber does not show any connec-

tion between the absence of the 3TRAX System and the slide-out drift, and has aban-

doned his express warranty and negligent misrepresentation claims regarding the

3TRAX System. Id. at 1 n.1.


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 Laber incorrectly states that Hunter testified “that the amount of drift was sufficient
to expose the tracks” of the slide-out. Pl.’s Mem. at 8; see Hunter Dep. at 28:12-14 (“Q:
Was [the drift] far enough for you to be able to see the tracks? A: No.”).
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   Contrary to Laber’s argument, Long View does not contend “that the root of the

drifting problem is Plaintiff ’s refusal to utilize slide-locks,” or that “Plaintiff acted un-

reasonably by refusing to use slide-locks.” Id. at 7-8. Rather, the point is that Laber’s

refusal to use slide-locks—which Laber admits would serve as a “guarantee” against

slide-out drift—is further proof that the slide-out did not pose a safety concern. Def.’s

Stmt. ¶ 22; Pl.’s Stmt. ¶ 22. Laber chose not to use slide-locks because the Miramar

was safe to drive without them.

   Laber attempts to create the appearance of a factual dispute over the Miramar’s

history of repairs and drifting. See Pl.’s Summ. J. Mem. at 4-6. But the existence of the

drift, the failure to repair it, and the parties’ resulting frustration are not disputed on

this motion. The issue is whether Laber has offered enough admissible evidence to

allow a jury to find that the Miramar was unmerchantable. See Treadaway, 2004 WL

3372010, at *6. He has not. Thus, the presence of the drift after multiple repair at-

tempts is insufficient to raise a material issue of fact. See id. at *7 (granting summary

judgment to defendants despite the plaintiff ’s “claims that the slide-out has never been

aligned or fixed to his satisfaction despite repeated attempts by Defendants”); see also

Pearson v. Winnebago Indus., Inc., 2016 WL 6893937, at *7 (M.D. Fla. Nov. 23, 2016)

(granting summary judgment to defendants in express warranty case, noting that

“[w]hile Plaintiffs’ testimony may be sufficient to establish that the slide-outs are not

operating as desired, it is not sufficient to show that the alleged slide-out defects are

covered defects under the warranty”); Mathews v. REV Recreation Group, Inc., 2018 WL

1586254, at *5 (N.D. Ind. Apr. 2, 2018) (granting summary judgment to defendant

despite the plaintiffs’ “understandable” frustration with their need to repeatedly return


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their motor home for repairs, and their belief that their motor home “was a deeply

flawed piece of machinery”).

   Laber also attempts to complicate the record by claiming the slide-out “has had

continuous problems retracting, and it regularly experiences circuit shortages.” Pl.’s

Summ. J. Mem. at 8. Laber fails to describe these issues in any detail, let alone show

they rendered the Miramar unsafe or undrivable. Bailey does not address these issues

in his reports, and Laber does not mention them when listing his reasons for revoking

acceptance. See Laber 2/28/19 Aff. ¶ 59. As a result, they cannot raise an issue of fact.

5. Laber Cannot Use an Unpled Revocation Claim to Prolong This Action

   Laber concedes that revocation is a statutory claim separate from the implied war-

ranty of merchantability. Pl.’s Summ. J. Mem. at 18 (citing Conn. Gen. Stat. § 42a-2-

711(1)). Laber did not plead such a claim. See Davenport, 2015 WL 13021664, at *3

(finding, on a motion for summary judgment, that the plaintiffs failed to plead a stat-

utory revocation claim).

   Contrary to Laber’s argument, Pl.’s Mem. at 18, Long View has shown that even

if the Court views the Complaint as stating a distinct revocation claim, such a claim

must be dismissed due to Laber’s failure to prove impairment of his use of the

Miramar. Def.’s Mem. of Law Supp. Mot. for Summ. J. (Doc. # 107-1) at 14 (quoting

Treadaway, 2004 WL 3372010, at *11).

                                      Conclusion

   The Court should grant summary judgment dismissing the remaining claims in this

action as against Long View: Counts One (implied warranty of merchantability),

Three (express warranty), and Seven (negligent misrepresentation).


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                           CERTIFICATE OF SERVICE

    I hereby certify that on April 12, 2019, a copy of Defendant Long View R.V., Inc.’s
Reply Memorandum of Law in Further Support of Motion for Summary Judgment
was filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as indi-
cated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.

                                        /s/ Mary Jo S. Korona
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